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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF KENTUCKY
                                 SOUTHERN DIVISION
                                     PIKEVILLE

  ELLIS KEYES,                                           CIVIL NO. 7:18-CV-23-KKC
          Plaintiff,

  v.                                                             JUDGMENT

  EDISON BANKS,
          Defendant.



       In according with the opinion and order entered on this date the Court hereby ORDERS

 and ADJUDGES as follows:

       1) defendant Edison Banks’ motion for summary judgment (DE 62) is GRANTED;

       2) judgment is entered in favor of defendant Edison Banks on all claims asserted in this

          action;

       3) this judgment is FINAL and APPEALABLE; and

       4) this matter is STRICKEN from the Court’s active docket.

          Dated September 02, 2020
